Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 1 of 18




                          Attachment A
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 2 of 18



                   Archivist of the
           2
           '~      United States
NATION A L
ARCHIVES


       February 18, 2022

       The Honorable Carolyn B. Maloney
       Chairwoman
       Committee on Oversight and Reform
       U.S. House of Representatives
       2157 Rayburn House Office Building
       Washington, DC 20514

       Dear Madam Chairwoman:

       I write in response to your letter of February 9, 2022, in which you asked a number of
       questions relating to "the 15 boxes of presidential records that the National Archives
       and Records Administration (NARA) recently recovered from former President Trump's
       Mar-a-Lago residence." Please see our responses to each of your questions:

       1. Did NARA ask the representatives of former President Trump about missing records
       prior to the 15 boxes being identified? If so, what information was provided in
       response?

                Answer: NARA had ongoing communications with the representatives of former
                President Trump throughout 2021, which resulted in the transfer of 15 boxes to
                NARA in January 2022.

       2. Has NARA conducted an inventory of the contents of the boxes recovered from
       Mar-a-Lago?

                Answer: NARA is in the process of inventorying the contents of the boxes.

       3. Please provide a detailed description of the contents of the recovered boxes,
       including any inventory prepared by NARA of the contents of the boxes. If an inventory
       has not yet been completed, please provide an estimate of when such an inventory will
       be completed.

                Answer: NARA staff are in the process of inventorying the contents of the boxes,
                which we expect to complete by February 25. Because the records in the boxes
                are subject to the Presidential Records Act (PRA), any request for information
                regarding the content of the records will need to be made in accordance with
                section 2205(2)(() of the PRA.




                 DAVIDS . FER RIERO ,          T : 202.357.5900   ,   F: 202 .357.5901   , david.ferriero@nara .gov
National Archives and Records Administration     , 700 Pennsylvania Avenue, NW , Washington, DC 20408 , www.archives.gov
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 3 of 18




     4. Are the contents of the boxes of records recovered by NARA undergoing a review to
     determine if they contain classified information? If so, who is conducting that review
     and has any classified information been found?

            Answer: NARA has identified items marked as classified national security
            information within the boxes.

     5. Is NARA aware of any additional presidential records from the Trump Administration
     that may be missing or not yet in NARA's possession?

           Answer: NARA has identified certain social media records that were not captured
           and preserved by the Trump Administration. NARA has also learned that some
           White House staff conducted official business using non-official electronic
           messaging accounts that were not copied or forwarded into their official
           electronic messaging accounts, as required by section 2209 of the PRA. NARA
           has already obtained or is in the process of obtaining some of those records.

     6. What efforts has NARA taken, and is NARA taking, to ensure that any additional
     records that have not been turned over to NARA are not lost or destroyed?

           Answer: NARA has asked the representatives of former President Trump to
           continue to search for any additional Presidential records that have not been
           transferred to NARA, as required by the Presidential Records Act.

     7. Has the Archivist notified the Attorney General that former President Trump removed
     presidential records from the White House? If not, why not?

            Answer: Because NARA identified classified information in the boxes, NARA staff
            has been in communication with the Department of Justice.

     8. Is NARA aware of presidential records that President Trump destroyed or attempted
     to dest'roy without the approval of NARA? If so, please provide a detailed description of
     such records, the actions taken by President Trump to destroy or attempt to destroy
     them, and any actions NARA has taken to recover or preserve these documents.

           Answer: In June 2018, NARA learned from a press report in Politico that textual
           Presidential records were being torn up by former President Trump and that
           White House staff were attempting to tape them back together. NARA sent a
           letter to the Deputy Counsel to the President asking for information about the
           extent of the problem and how it is being addressed. The White House Counsel's
           Office indicated that they would address the matter. After the end of the Trump
           Administration, NARA learned that additional paper records that had been torn
           up by former President Trump were included in the records transferred to us.
           Although White House staff during the Trump Administration recovered and
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 4 of 18




           taped together some of the torn-up records, a number of other torn-up records
           that were transferred had not been reconstructed by the White House.

    Sincerely,




    DAVIDS. FERRIERO
    Archivist of the United States

    cc: The Honorable James Comer, Ranking Member
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 5 of 18




                           Attachlllent B
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 6 of 18




                         Archivist of the
     ~                   United States
     NATIONAL
     ARCHIVES


     May 10, 2022


     Evan Corcoran
     Silverman Thompson
     400 East Pratt Street
     Suite 900
     Baltimore, MD 21202
     By Email

     Dear Mr. Corcoran:

     I write in response to your letters of April 29, 2022, and May 1, 2022, requesting that the
     National Archives and Records Administration (NARA) further delay the disclosure to the
     Federal Bureau oflnvestigation (FBI) of the records that were the subject of our April 12, 2022
     notification to an authorized representative of former President Trump.

     As you are no doubt aware, NARA had ongoing communications with the former President's
     representatives throughout 2021 about what appeared to be missing Presidential records, which
     resulted in the transfer of 15 boxes of records to NARA in January 2022. In its initial review of
     materials within those boxes, NARA identified items marked as classified national security
     information, up to the level of Top Secret and including Sensitive Compartmented Information
     and Special Access Program materials. NARA informed the Department of Justice about that
     discovery, which prompted the Department to ask the President to request that NARA provide
     the FBI with access to the boxes at issue so that the FBI and others in the Intelligence
     Community could examine them. On April 11 , 2022, the White House Counsel's
     Office-affirming a request from the Department of Justice supported by an FBI letterhead
     memorandum-formally transmitted a request that NARA provide the FBI access to the 15
     boxes for its review within seven days, with the possibility that the FBI might request copies of
     specific documents following its review of the boxes.

     Although the Presidential Records Act (PRA) generally restricts access to Presidential records in
     NARA's custody for several years after the conclusion of a President's tenure in office, the
     statute further provides that, "subject to any rights, defenses, or privileges which the United
     States or any agency or person may invoke," such records "shall be made available ... to an
     incumbent President if such records contain information that is needed for the conduct of current
     business of the incumbent President's office and that is not otherwise available." 44 U.S .C. §



                   Debra Steidel Wall   ,   T : 202 .357. 5900   ,   F: 202 .357.5901   , debra .wall@nara.gov
  National Archives and Records Administration     , 8601 Adelphi Road         , College Park, MD 20740 , www.archives.gov
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 7 of 18




     2205(2)(B). Those conditions are satisfied here. As the Department of Justice's National Security
     Division explained to you on April 29, 2022:

            There are important national security interests in the FBI and others in the Intelligence
            Community getting access to these materials. According to NARA, among the materials
            in the boxes are over l 00 documents with classification markings, comprising more than
            700 pages. Some include the highest levels of classification, including Special Access
            Program (SAP) materials. Access to the materials is not only necessary for purposes of
            our ongoing criminal investigation, but the Executive Branch must also conduct an
            assessment of the potential damage resulting from the apparent manner in which these
            materials were stored and transpotted and take any necessary remedial steps.
            Accordingly, we are seeking immediate access to these materials so as to facilitate the
            necessary assessments that need to be conducted within the Executive Branch.

     We advised you in writing on April 12 that, "in light of the urgency of this request," we planned
     to "prov id[ e] access to the FBI next week," i.e., the week of April 18. See Exec. Order No.
     13,489, § 2(b), 74 Fed. Reg. 4,669 (Jan. 21 , 2009) (providing a 30-day default before disclosure
     but authorizing the Archivist to specify "a shorter period of time" if " required under the
     circumstances"); accord 36 C.F.R. § 1270.44(g) ("The Archivist may adjust any time period or
     deadline under this subpart, as appropriate, to accommodate records requested under this
     section."). In response to a request from another representative of the fonner President, the
     White House Counsel's Office acquiesced in an extension of the production date to April 29, and
     so advised NARA. In accord with that agreement, we had not yet provided the FBI with access
     to the records when we received your letter on April 29, and we have continued to refrain from
     providing such access to date.

     It has now been four weeks since we first informed you of our intent to provide the FBI access to
     the boxes so that it and others in the Intelligence Community can conduct their reviews.
     Notwithstanding the urgency conveyed by the Department of Justice and the reasonable
     extension afforded to the former President, your April 29 letter asks for additional time for you to
     review the materials in the boxes " in order to ascertain whether any specific document is subject
     to privilege," and then to consult with the former President "so that he may personally make any
     decision to assert a claim of constitutionally based privilege." Your April 29 letter further states
     that in the event we do not afford you fmther time to review the records before NARA discloses
     them in response to the request, we should consider your letter to be " a protective assertion of
     executive privilege made by counsel for the former President."

     The Counsel to the President has informed me that, in light of the particular circumstances
     presented here, President Biden defers to my determination, in consultation with the Assistant
     Attorney General for the Office of Legal Counsel , regarding whether or not I should uphold the
     former President's purported "protective asse1tion of executive privilege." See 36 C.F.R. §
     l 270.44(f)(3). Accordingly, I have consulted with the Assistant Attorney General for the Office
     of Legal Counsel to inform my "determination as to whether to honor the former President's
     claim of privilege or instead to disclose the Presidential records notwithstanding the claim of
     privilege." Exec. Order No. 13,489, § 4(a) .
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 8 of 18




     The Assistant Attorney General has advised me that there is no precedent for an assertion of
     executive privilege by a former President against an incumbent President to prevent the latter
     from obtaining from NARA Presidential records belonging to the Federal Government where
     "such records contain information that is needed for the conduct of current business of the
     incumbent President's office and that is not otherwise available." 44 U.S.C. § 2205(2)(B).

     To the contrary, the Supreme Court's decision in Nixon v. Administrator of General Services, 433
     U.S. 425 (1977), strongly suggests that a former President may not successfully assert executive
     privilege "against the very Executive Branch in whose name the privilege is invoked." Id. at
     447-48. In Nixon v. GSA , the Court rejected former President Nixon 's argument that a statute
     requiring that Presidential records from his term in office be maintained in the custody of, and
     screened by, NARA's predecessor agency-a "very limited intrusion by personnel in the
     Executive Branch sensitive to executive concerns"-would "impermissibly interfere with candid
     communication of views by Presidential advisers." Id. at 451 ; see also id. at 455 (rejecting the
     claim). The Court specifically noted that an "incumbent President should not be dependent on
     happenstance or the whim of a prior President when he seeks access to records of past decisions
     that define or channel current governmental obligations." Id. at 452 ; see also id. at 441-46
     (emphasizing, in the course of rejecting a separation-of-powers challenge to a provision of a
     federal statute governing the disposition of former President Nixon 's tape recordings, papers, and
     other historical materials "within the Executive Branch," where the "employees of that branch
     [would] have access to the materials only 'for lawful Government use," ' that "[t]he Executive
     Branch remains in full control of the Presidential materials, and the Act facially is designed to
     ensure that the materials can be released only when release is not barred by some applicable
     privilege inherent in that branch"; and concluding that "nothing contained in the Act renders it
     unduly disruptive of the Executive Branch").

     It is not necessary that I decide whether there might be any circumstances in which a former
     President could successfully assert a claim of executive privilege to prevent an Executive Branch
     agency from having access to Presidential records for the performance of valid executive
     functions. The question in this case is not a close one. The Executive Branch here is seeking
     access to records belonging to, and in the custody of, the Federal Government itself, not only in
     order to investigate whether those records were handled in an unlawful manner but also, as the
     National Security Division explained, to "conduct an assessment of the potential damage
     resulting from the apparent manner in which these materials were stored and transported and take
     any necessary remedial steps." These reviews will be conducted by current government
     personnel who, like the archival officials in Nixon v. GSA , are "sensitive to executive concerns."
     Id. at 451. And on the other side of the balance, there is no reason to believe such reviews could
     "adversely affect the ability of future Presidents to obtain the candid advice necessary for
     effective decisionmaking." Id. at 450. To the contrary: Ensuring that classified information is
     appropriately protected, and taking any necessary remedial action if it was not, are steps essential
     to preserving the ability of future Presidents to "receive the full and frank submissions of facts
     and opinions upon which effective discharge of [their] duties depends." Id. at 449.

     Because an assertion of executive privilege against the incumbent President under these
     circumstances would not be viable, it follows that there is no basis for the former President to
     make a "protective assertion of executive privilege," which the Assistant Attorney General
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 9 of 18




    informs me has never been made outside the context of a congressional demand for information
    from the Executive Branch. Even assuming for the sake of argument that a former President may
    under some circumstances make such a "protective assertion of executive privilege" to preclude
    the Archivist from complying with a disclosure otherwise prescribed by 44 U.S.C. § 2205(2),
    there is no predicate for such a "protective" assertion here, where there is no realistic basis that
    the requested delay would result in a viable assertion of executive privilege against the
    incumbent President that would prevent disclosure of records for the purposes of the reviews
    described above. Accordingly, the only end that would be served by upholding the "protective"
    assertion here would be to delay those very important reviews.

    I have therefore decided not to honor the former President's "protective" claim of privilege. See
    Exec. Order No. 13 ,489, § 4(a); see also 36 C.F.R. 1270.44(f)(3) (providing that unless the
    incumbent President "uphold[s]" the claim asserted by the former President, "the Archivist
    discloses the Presidential record"). For the same reasons, I have concluded that there is no reason
    to grant your request for a further delay before the FBI and others in the Intelligence Community
    begin their reviews. Accordingly, NARA will provide the FBI access to the records in question ,
    as requested by the incumbent President, beginning as early as Thursday, May 12, 2022.

    Please note that, in accordance with the PRA, 44 U.S.C. § 2205(3), the former President's
    designated representatives can review the records, subject to obtaining the appropriate level of
    security clearance. Please contact my General Counsel, Gary M. Stern, if you would like to
    discuss the details of such a review, such as you proposed in your letter of May 5, 2022,
    particularly with respect to any unclassified materials.

    Sincerely,




    DEBRA STEIDEL WALL
    Acting Archivist of the United States
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 10 of 18




                           Attachn1ent C
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 11 of 18

  AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury


                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Columbia
                                           SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To:      Custodian of Records
         The Office of Donald J. Trump
         1100 South Ocean Blvd.
         Palm Beach, FL 33480


       YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
 below to testify before the comt's grand jury. When you arrive, you must remain at the court until the judge or a court
 officer allows you to leave.

       Place: U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA                         Date and Time:
              U.S. Courthouse, 3rd Floor     Grand Jury #2 1-09                                 May 24, 2022
              333 Constitution Avenue, N. W.                                                    9:00 a.m.
              Washington, D.C. 20001


           You must also bring with you the following documents, electronically stored infonnation, or objects:



  Any and all documents or writings in the custody or control of Donald J. Trump and/or the Office of
  Donald J. Trump bearing classification markings, including but not limited to the following: Top Secret,
  Secret, Confidential, Top Secret/SI-G/NOFORN/ORCON, Top Secret/SI-G/NOFORN, Top Secret/HCS-
  0/NOFORN/ORCON, Top Secret/HCS-0/NOFORN, Top Secret/HCS-P/NOFORN/ORCON, Top
  Secret/HCS-P/NOFORN, Top Secret/TK/NOFORN/ORCON, Top Secret/TK/NOFORN,                                                   1-


  Secret/NOFORN, Confidential/NOFORN, TS, TS/SAP, TS/SI-G/NF/OC, TS/SI-G/NF, TS/HCS-
  0/NF/OC, TS/HCS-0/NF, TS/HCS-P/NF/OC, TS/HCS-P/NF, TS/HCS-P/SI-G, TS/HCS-P/SI/TK,
  TS/TK/NF/OC, TS/TK/NF, S/NF, S/FRD, S/NATO, S/SI, C, and C/NF.

 Date: May 11, 2022


   The name, address, telephone number and email of the prosecutor who requests this subpoena are:


   Jay I. Bratt .                                                                         Subpoena #GJ2022042790054
   950 Pennsyl                       , NW
   Washington
   ·      ·              ·.gov
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 12 of 18




        CO 293 (Rev. 8/91) Subpoena to Testify Before Grand Jury


                                                        RETURN OF SERVICE c1i
      RECEIVED BY               DATE                                  PLACE
        SERVER
                                DATE                                  PLACE
          SERVED
    SERVED ON (PRINT NAME)



    SERVED BY (PRINT NAME)                                                                  I TITLE


                                                   STATEMENT OF SERVICE FEES
    TRAVEL                                         SERVICES                                                  TOTAL



                                                   DECLARATION OF SERVER <2>
              I declare under penalty of perjury under the laws of the United States of America that the foregoing information
    contained in the Return of Service and Statement of Service Fees is true and correct.


    Executed on
                                            Date




    Signature of Server




    Address of Server


    ADDITIONAL INFORMATION




      1,,As to who may serve a subpoena and the manner of its service see Rule 17(d), Federal Rules of Criminal Procedure, or Rule 45{c),
      Federal Rules of Civil Procedure.
      m"Fees and mileage need not be tendered to the witness upon service of a subpoena issued on behalf of the United States or an
      officer or agency thereof {Rule 45(c), Federal rules of Civil Procedure; Rule 17(d), Federal Rules of Criminal Procedure) or on behalf
      of
      certain indigent parties and criminal defendants who are unable to pay such costs (28 USC 1825, Rule 17(b) Federal Rules of
      Criminal Procedure)".




                                                   Subpoena #GJ2022042790054
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 13 of 18




                            Attachm.ent D
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 14 of 18

                                                                   U.S. Department of Justice

                                                                   National Security Division


      Co1111teri111el/ige11ce and Export Co111rol Section          Washington, D.C. 20530



                                                                            May 11, 2022

      M. Evan Corcoran, Esq.
      Silverman Thompson
      400 East Pratt Street - Suite 900
      Baltimore, Maryland 21202

                 Re:         Grand Jury Subp,oena

      Dear Mr. Corcoran:

             Thank you for agreeing to accept service of the grand jury subpoena on behalf of the
      custodian ofrecords for the Office of Donald J. Trump.

              As we discussed, in lieu of personally appearing on May 24, the custodian may comply
      with the subpoena by providing any responsive documents to the FBI at the place of their
      location. The FBI will ensure that the agents retrieving the documents have the proper
      clearances and will handle the materials in the appropriate manner. The custodian would also
      provide a sworn certification that the documents represent all responsive records. If there are no
      responsive documents, the custodian would provide a sworn certification to that effect.

                 Thank you again for your cooperation.


                                                            v°JfjiJ:_
                                                            0U%<
                                                            Chief
                                                            Counterintelligence and Export Control Section

                                                            jav.bratt2@,usdoj.gov
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 15 of 18




                            Attachm.ent E
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 16 of 18




                                            CERTIFICATION


      I hereby certify as follows:


          1. I have been designated to serve as Custodian of Records for The Office of Donald J.

             Trwnp, for purposes of the testimony and documents subject to subpoena

             #GJ20222042790054.

         2. I understand that this certification is made to comply with the subpoena, in lieu of a

             personal appearance and testimony.

         3. Based upon the information that has been provided to me, I am authorized to certify, on

             behalf of the Office of Donald J. Trump, the following:

                 a. A diligent search was conducted of the boxes that were moved from the White

                     House to Florida;

                 b. This search was conducted after receipt of the subpoena, in order to locate any

                     and all documents that are responsive to the subpoena;

                 c. Any and all responsive docwnents accompany this certification; and

                 d. No copy, written notation, or reproduction of any kind was retained as to any

                     resppnsive document.


      I swear or affirm that the above statements are true and correct to the best of my knowledge.

      Dated: June 3, 2022
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 17 of 18




                           Attachment F
Case 9:22-cv-81294-AMC Document 48-1 Entered on FLSD Docket 08/30/2022 Page 18 of 18
